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RETURN OF SERVICE

UNITED STATES DISTRICT COURT
District of Florida

Case Number: 1:22-CV-23684-JAL

Plaintiff:
ADISLEN PAZ DEL SOL
vs.
oO

Defendant: CH202200190

HOMESTEAD HOSPITAL, INC., BAPTIST HEALTH SOUTH FLORIDA, INC., PARAGON
CONTRACTING SERVICES, LLC, d/b/a TEAMHEALTH FLORIDA, and

HEALTHCARE REVENUE RECOVERY GROUP, LLC, d/bia HRRG, ARS ACCOUNT
RESOLUTION SERVICES

 

 

IM

For:

AMOR LAW FIRM, P.A.
3625 NW 82ND AVE
SUITE 203

DORAL, FL 33166

Received by STATEWIDE PROCESS SERVICE, INC on the 14th day of November, 2022 at 8:56 am to be served on PARAGON
CONTRACTING SERVICES, LLC D/B/A TEAMHEALTH FLORIDA C/O CORPORATION SERVICE COMPANY, ITS REGISTERED
AGENT, 1201 HAYS STREET, TALLAHASSEE, FL 32301.

|, Christopher S. Kady, do hereby affirm that on the 14th day of November, 2022 at 11:50 am, |:

served a CORPORATE, PARTNERSHIP, ASSOCIATION OR GOVERNMENT SERVICE by delivering a true copy of the
SUMMMONS AND COMPLAINT WITH EXHIBITS with the date and hour of service endorsed thereon by me, to: Sheena Black as
Service Liaison authorized to accept service, of the within named corporation, at the address of: 1201 HAYS STREET,
TALLAHASSEE, FL 32301 on behalf of PARAGON CONTRACTING SERVICES, LLC D/B/A TEAMHEALTH FLORIDA C/O
CORPORATION SERVICE COMPANY, ITS, and informed said person of the contents therein, in compliance with state statutes.

Description of Person Served: Age: 33, Sex: F, Race/Skin Color: White, Height: 5'6", Weight: 130, Hair: Dark Brown, Glasses: N
| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process Server, in good standing, in

the judicial circuit in which the process was served. "Under penalties of perjury, | declare that | have read the foregoing document
and that the facts in it are true" F.S. 92.525. NOTARY NOT REQUIRED PURSUANT TO FS 92.525

 

 

Christopher S. Kady
Process Server #237

STATEWIDE PROCESS S$ PvICE, INC
5727 Nw 7th Street j

#317 ‘

Miami, FL 33126

(786) 512-5440

Our Job Serial Number: OCH-2022001901

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